 Case 5:21-cv-00697-SB-SP Document 36 Filed 11/05/21 Page 1 of 2 Page ID #:873



 1                                                       November 5, 2021

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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                         Case No. 5:21-CV-00697-SB (SPx)
11   DANIEL HALLISEY, an individual,
                                           Honorable Stanley Blumenfeld, Jr.
12                                         Courtroom 6C
                            Plaintiffs,    ORDER RE DISMISSAL PURSUANT
13
                                           TO FED. R. CIV. P. 41
14   v.
15                                         Complaint filed: February 24, 2021
     SILVER OAK SERVICES                   Trial Date: May 23, 2022
16   PARTNERS LLC et al.,
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                            Defendants.
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 Case 5:21-cv-00697-SB-SP Document 36 Filed 11/05/21 Page 2 of 2 Page ID #:874



 1            ORDER RE DISMISSAL PURSUANT TO FED. R. CIV. P. 41
 2         Upon consideration of the parties’ Joint Stipulation for Dismissal Pursuant to
 3   Fed. R. Civ. Pro. Rule 41,
 4         IT IS HEREBY ORDERED that this action is dismissed with prejudice as to
 5   Defendant SILVER OAK SERVICES PARTNERS LLC; and dismissed without
 6   prejudice as to Defendants, ARTIC EMPLOYMENT SERVICES, INC., and ARTIC
 7   SERVICES, LLC; each party to bear his/her/its own attorneys’ fees and costs. This
 8   ORDER is made as the matter has been resolved to the satisfaction of all parties.
 9         IT IS SO ORDERED.
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11   Dated: November 5, 2021         _______________________________________
12                                        STANLEY BLUMENFELD, JR.
                                        UNITED STATES DISTRICT JUDGE
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